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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                   AT LEXINGTON

    UNITED STATES OF AMERICA,                      CRIMINAL ACTION NO. 5:16-59-KKC-1

         Plaintiff,


    V.                                                     OPINION AND ORDER


    ALAN ARNOLD GODOFSKY,

         Defendant.



                                          *** *** ***

         This matter is before the Court on Defendant’s renewed motion for a modification to

his sentence. Defendant Alan Arnold Godofsky was sentenced on April 30, 2018 to 60 months

imprisonment and three years of supervised release. (DE 201.) On April 23, 2020, he filed a

renewed motion for a modification to his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A),

commonly referred to as a motion for “compassionate release,” asking that the Court release

him to home confinement. (DE 236)1 Under that statute, a court may modify a term of

imprisonment if –

                after the defendant has fully exhausted all
                administrative rights to appeal a failure of the Bureau of
                Prisons to bring a motion on the defendant’s behalf or the
                lapse of 30 days from the receipt of such a request by the
                warden of the defendant’s facility, whichever is earlier…
                after considering the factors set forth in [18 U.S.C. §]
                3553(a) to the extent that they are applicable… it finds
                that extraordinary and compelling reasons warrant such
                a reduction… and that such a reduction is consistent with
                applicable policy statements issued by the Sentencing
                Commission.


1Defendant filed a motion to supplement the renewed motion on April 24, 2020. (DE 238.) The Court
considers the supplement here.

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       Defendant sent a request to the warden at FCI Morgantown, where he is currently

incarcerated, on March 24, 2020. (DE 236 at 1; DE 236-1.) Defendant claims that he has not

received “a direct response to his request for compassionate release,” but also that the request

was affirmatively denied, albeit under the warden’s assumption that it was a request for

relief under the Elderly Offender Program. (DE 236 at 1.) The government contends that the

March 24th request was made by Defendant pursuant to the Elderly Offender Program and

was affirmatively denied on April 7, 2020. (DE 239 at 2-3.)

       18 U.S.C. § 3582 explicitly states that this Court “may not” modify a prison term

except in certain delineated circumstances. One of these circumstances is when a defendant

brings a motion for compassionate release – but only if the defendant has first fully exhausted

his administrative remedies or 30 days have lapsed since receipt of the request by the

warden, whichever is earlier. “[D]istrict courts lack jurisdiction to consider a motion for

compassionate release filed by the defendant himself unless he has fully exhausted his

administrative remedies.” United States v. Gentner, NO: 5:16-CR-11-TBR, 2019 WL 5581337,

at *1 (W.D. Ky. Oct. 29, 2019). As the Third Circuit recently noted, a defendant’s failure to

comply with the statute’s exhaustion requirement before asking a court for compassionate

release was “a glaring roadblock foreclosing compassionate release.” United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020). Further, the “mandatory language” of the statute “means a

court may not excuse a failure to exhaust, even to take [special] circumstances into account.”

Ross v. Blake, 136 S. Ct. 1850, 1856 (2016). “[M]andatory exhaustion statutes… establish

mandatory exhaustion regimes, foreclosing judicial discretion.” Id. at 1857.

       Even if Defendant’s request to the warden was properly made under § 3582(c)(1)(A),

Defendant makes no mention of any effort to appeal the denial of his request. As outlined in

28 C.F.R. § 542.15(a) (“Administrative Remedy Program – Appeals”) –



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              An inmate who is not satisfied with the Warden’s response may
              submit an Appeal on the appropriate form (BP-10) to the
              appropriate Regional Director within 20 calendar days of the
              date the Warden signed the response. An inmate who is not
              satisfied with the Regional Director’s response may submit an
              Appeal on the appropriate form (BP-11) to the General Counsel
              within 30 calendar days of the date the Regional Director signed
              the response… Appeal to the General Counsel is the final
              administrative appeal.

See also U.S. Department of Justice, Federal Bureau of Prisons, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582 and

4205(g) (Jan. 17, 2009) https://www.bop.gov/policy/progstat/5050_050_EN.pdf; United States

v. Brummett, No. 6:07-CR-103-DCR, 2020 WL 1492763, at *1-*2 (E.D. Ky. Mar. 27, 2020).

Because Defendant apparently did not seek an appeal of the denial of his request through

the Administrative Remedy Program, the Court cannot find that he has exhausted his

administrative rights and, therefore, the Court does not have jurisdiction to consider the

motion. See Gentner, 2019 WL 5581337, at *1.

       Regardless, even if the Court were to consider the substance of Defendant’s

compassionate release motion, it would fail on its merits. As discussed above, § 3582(c)(1)(A)

requires that the Court find that “extraordinary and compelling reasons warrant” a

modification to a defendant’s sentence, and that “such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” The Sentencing

Commission has issued a policy statement that, in the relevant part, allows a court to grant

compassionate release or a sentence reduction only where, “(1) extraordinary or compelling

reasons warrant a reduction in a defendant’s sentence, (2) the defendant is not a danger to

the safety of others or the community, and (3) release from custody complies with § 3553(a)

factors.” United States v. Lake, 5:16-076-DCR, 2019 WL 4143293, at *2 (E.D. Ky. Aug. 30,

2019) (citing U.S.S.G. § 1B1.13 (2018)).



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       Defendant argues that he should be released from custody because he is particularly

vulnerable to the disease caused by the novel coronavirus, COVID-19. (DE 236 at 1.) In

support of this argument, Defendant reports that he is 63 years old, has high blood pressure,

high cholesterol, asthma, and is currently taking medications that weaken his immune

system. (DE 236 at 1.) Simply put, even in the context of the ongoing public health crisis,

Defendant has failed to establish that “extraordinary or compelling reasons warrant” his

release from custody. While the medical condition of a defendant may in certain

circumstances establish the requisite “extraordinary and compelling reasons,” Defendant has

not shown that he “is suffering from a terminal illness (i.e., a serious and advanced illness

with an end of life trajectory)” or “is suffering from a serious physical or medical condition,…

serious functional or cognitive impairment, or experiencing deteriorating physical or mental

health because of the aging process, that substantially diminishes [his] ability… to provide

self-care within the environment of a correctional facility and from which he… is not expected

to recover.” U.S.S.G. §1B1.13, comment. (n.1) (2018).2

       Accordingly, the Court hereby ORDERS that Defendant’s renewed motion for a

modification to his sentence (DE 236) is DENIED.

       Dated May 5, 2020




2“28 U.S.C. § 994 authorizes the United States Sentencing Commission to define ‘extraordinary and
compelling reasons.’” Lake, 2019 WL 4143293, at *2 (citation and internal quotation marks omitted).

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